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13   Attorneys for Plaintiff Flextronics International USA, Inc.

14   [ Additional Counsel on Signature Page]

15
                               IN THE UNITED STATES DISTRICT COURT
16
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

18
      FLEXTRONICS INTERNATIONAL USA, INC.,                         Case No. 5:19-cv-00078-EJD
19                     Plaintiff,

20             v.
                                                                   JOINT CASE MANAGEMENT
21    MURATA MANUFACTURING CO., LTD., et al.,                      STATEMENT FOR FEBRUARY 7, 2019
                     Defendants.                                   INITIAL CASE MANAGEMENT
22                                                                 CONFERENCE
23                                                                 Date: February 7, 2019
                                                                   Time: 10:00 AM
24
                                                                   Hon. Edward J. Davila
25

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                                     JOINT CASE MANAGEMENT STATEMENT
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 1          In connection with the Initial Case Management Conference scheduled in this matter for February

 2   7, 2019 (ECF No. 17), Individual Action Plaintiff Flextronics International USA, Inc. (hereinafter “Flex”

 3   or “Plaintiff”) and the Defendants Murata Manufacturing Co., Ltd.; Murata Electronics North America

 4   Inc.; Murata Power Solutions, Inc.; Panasonic Corporation; Panasonic Corporation of North America; ;

 5   Sagami Elec Co., Ltd.; Sagami America, Ltd.; Sumida Corporation; Sumida Electric Co., Ltd.; Sumida

 6   America Components, Inc.; Taiyo Yuden Co., Ltd.; Taiyo Yuden (U.S.A.) Inc.; TDK Corporation; TDK-

 7   EPC Corporation; TDK Corporation of America; TDK U.S.A. Corporation; Tokin Corporation; and

 8   Tokin America, Inc. (collectively “Defendants”)(Flex and Defendants are collectively the “Parties”),

 9   submit this Joint Case Management Statement pursuant to Federal Rule of Civil Procedure 26(f), the

10   Standing Order of All Judges for the Northern District of California, and Civil Local Rule 16-9.

11   I.     JURISDICTION AND SERVICE
12          A. Jurisdiction
13          This Court is alleged to have jurisdiction over this action pursuant to Section 1 of the Sherman

14   Act, 15 U.S.C. § 1 as well as 28 U.S.C. §§ 1331, 1337(a) and Sections 4 and 16 of the Clayton Act (15

15   U.S.C. §§ 15(a) and 26).

16          B. Service
17          Flex has perfected service on each United States Defendant identified above, except Taiyo Yuden

18   contends that service on its United States Defendant was not proper. The parties anticipate that in

19   connection with a stipulation deferring Defendants’ responses to the Complaint (as discussed below), the

20   Defendants will agree to enter into a stipulation acknowledging service of the foreign defendants and

21   with respect to Taiyo Yuden’s United States Defendant, and Flex will agree to provide a translated copy

22   of the Complaint as they would if Hague service were perfected.

23   II.    FACTS
24          Inductors are ubiquitous passive electronic components that are found in consumer electronic

25   products such as computers, smartphones, televisions, video game consoles, and automobiles. Flex is an

26   individual Plaintiff that intends to opt out from the putative direct purchaser class and also alleges it, and
27   that certain affiliated companies, directly purchased hundreds of millions of dollars’ worth of inductors

28   from Defendants since at least January 1, 2003 through December 1, 2016 (the “Relevant Period”). Flex

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 1   alleges that Defendants formed, maintained, and concealed a global price-fixing cartel that inflated prices

 2   of inductors to its customers, including Flex. Flex filed its Complaint on January 4, 2019 (ECF No. 1).

 3          Flex alleges that the United States Department of Justice (“DOJ”) is investigating certain

 4   Defendants in connection with an investigation into possible cartel activity related to inductors and has

 5   issued grand jury subpoenas to certain of Defendants. The DOJ has intervened in the related putative

 6   Class Action.

 7   III.   PRINCIPAL ISSUES IN DISPUTE
 8          A.       Principal Factual Issues in Dispute
 9          The Parties reserve their right to amend or supplement this list of factual issues in dispute:

10                  Whether the Defendants reached agreements or understandings to exchange competitively
                     sensitive information, and to fix, raise, or stabilize prices of inductors, and which
11                   Defendants, if any, reached such agreements.
12
                    When these alleged agreements started, and when they ended.
13
                    The scope of these alleged agreements, including the types of inductors covered, the
14                   manufacturers involved, and the geographical scope of their coverage.

15                  The existence, nature and frequency of any exchanges of competitively sensitive
                     information between Defendant, including the means of communication, the content of
16
                     communications, and location of meetings.
17
                    The names and responsibilities of Defendants’ personnel, if any, that engaged in the
18                   exchange of competitively sensitive information or entered into agreements.
19                  Whether evidence of any alleged agreements was concealed, destroyed or otherwise
20                   spoliated.

21                  Whether Flex suffered an injury in fact or antitrust injury as a result of Defendants’ illegal
                     conduct.
22
                    Whether Defendants caused prices for inductors to be set at artificially high or
23                   supracompetitive levels.
24
                    Whether Flex paid supracompetitive prices for inductors.
25
            B.       Principal Legal Issues in Dispute
26
            The Parties reserve their right to amend or supplement this list of legal issues in dispute:
27
                    Whether Defendants reached agreements among or between themselves to exchange
28                   competitively sensitive information and fix, stabilize, or raise prices of inductors in

30                                                          2
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 1                  violation of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3).

 2                 The effect, if any, of the Foreign Trade Antitrust Improvements Act of 1982, 15 U.S.C.
                    § 6a (“FTAIA”) on the claims presented in this litigation, including whether any of
 3
                    Flex’s claims are barred by the FTAIA.
 4
                   Whether Flex’s antitrust injuries are proximately caused by Defendants’ conduct for
 5                  purposes of Section 4 of the Clayton Act (15 U.S.C. §15).
 6
                   Whether Flex has suffered damages, and in what amount.
 7
                   Whether Flex is entitled to injunctive relief under Section 16 of the Clayton
 8                  Act (15 U.S.C. §26).

 9                 Whether Flex or any of its affiliates are indirect purchasers under Illinois Brick v. Illinois,
                    431 U.S. 720 (1977).
10

11                 Whether Defendants can state or prove any of their affirmative defenses.

12   IV.    MOTIONS

13          There are no motions currently pending. As noted above, the parties anticipate a stipulation

14   asking the Court to enter an Order deferring Defendants’ deadline to file a response to Flex’s Complaint

15   until after this Court has ruled on the Motion to Dismiss the Corrected Consolidated Amended Class

16   Action Complaint in the related putative class action suit (ECF No. 223).

17   V.     AMENDMENT OF PLEADINGS

18          Flex’s Complaint was filed on January 4, 2019. Subject to any court-ordered limitation, Flex

19   reserves the right to amend its Complaint to incorporate new parties or information based on Court

20   rulings or documents that Defendants subsequently produce, including documents that any Defendant

21   named in the Complaint may have already produced in connection with any governmental investigation

22   concerning inductors. Defendants reserve their rights to object to any amendment.

23   VI.    EVIDENCE PRESERVATION

24          The Parties have reviewed the ESI Guidelines and have met and conferred regarding reasonable

25   and proportionate steps to preserve evidence relevant to the issues reasonably evident in this action

26   pursuant to Fed. R. Civ. P. 26(f). The Parties agree to abide by the terms set forth in the related putative

27   Class Action in the Stipulation and Order Regarding Production of Electronically Stored Information and

28   Hard Copy Documents (ECF No. 240).

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 1   VII.      DISCLOSURES
 2             The Parties have agreed to exchange their respective initial disclosures in accordance with the

 3   schedule applicable to the related putative Class Action.

 4   VIII. DISCOVERY
 5             The Parties are discussing and negotiating the discovery limits for this action and will advise the

 6   Court once complete.

 7             Further, Flex agrees to execute a copy of the Stipulated Protective Order (ECF No. 249) agreed to

 8   in the related putative Class Action and the Parties agree to be bound by that order as if entered in this

 9   action.

10   IX.       RELATED CASES
11             This Court Ordered that this action is related to the following class action (ECF # 11):

12          Case                                      Title
13          Case No. 5:18-cv-00198-EJD                In re Inductors Antitrust Litigation
14

15   X.        RELIEF
16             Flex seeks a judgment on its behalf adjudging and decreeing that Defendants violated Section 1
17   of the Sherman Act, 15 U.S.C. § 1, a judgment for three times the amount of damages sustained by Flex,
18   pre-judgment and post-judgment interest, costs of the suit, including attorney’s fees, and for such other
19   relief as is just and proper under the circumstances. Defendants deny that Flex is entitled to any relief.
20   XI.       SETTLEMENT AND ADR
21             The Parties have discussed submitting the matter for private mediation pursuant to the ADR
22   process and will do so once the timing is appropriate.
23   XII.      CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES
24             The Parties do not consent to a Magistrate Judge for all further proceedings including trial and
25   entry of judgment.
26   XIII. NARROWING OF ISSUES
27             At this stage of the proceedings, the parties believe that the narrowing of issues, suggestions to
28

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 1   expedite the presentation of evidence at trial, and requests to bifurcate issues, claims or defenses, whether

 2   by agreement or stipulation, are premature.

 3   XIV. EXPEDITED TRIAL PROCEDURE
 4          The Parties do not all agree that this case should be handled under the Expedited Trial Procedure

 5   of General Order No. 64 Attachment A.

 6   XV.    SCHEDULING
 7          The Parties intend as much as practical for this action to proceed on the same schedule as the

 8   related putative Class Action.

 9   XVI. TRIAL
10          The Parties request a jury trial. The Parties do not presently have sufficient information to

11   reasonably estimate the expected length of the trial in this action.

12   XVII. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
13          The Parties have agreed to file their respective disclosures of non-party interested entities or

14   persons by March 1, 2019.

15   XVIII. PROFESSIONAL CONDUCT
16          All attorneys of record in this case have reviewed the Guidelines for Professional Conduct for the

17   Northern District of California.

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 1   Dated: January 28, 2019               Respectfully Submitted,

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                      JOINT CASE MANAGEMENT STATEMENT
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 1          Pursuant to Civil L. R. 5-1(i)(3), I attest that concurrence in the filing of this document has been

 2   obtained from each of the other signatories above.

 3   Date: January 28, 2019                                               /s/ Charles E. Tompkins
                                                                           Charles E. Tompkins
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